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                         Exhibit 5
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            IT IS ALSO ORDERED that Petition-             (4) insurer’s claims would not be separate-
          er’s Motion for Discovery is hereby DE-             ly adjudicated.
          NIED WITH PREJUDICE. His Motion                 Motion granted in part, and denied in part.
          to Stay adjudication of his 28 U.S.C.
          § 2255 Motion pending the outcome of his
          Motion for Discovery is hereby DENIED           1. Federal Civil Procedure O340
          AS MOOT.                                             Insurer established sufficient interest
                                                          in products liability action brought by con-
            IT IS SO ORDERED.
                                                          sumer against corporation to warrant in-
                                                          tervention, where insurer paid health care

                       ,
                                                          benefits to consumer as a result of injuries
                                                          claimed in complaint, and insurer’s health
                                                          care contract with consumer included sub-
                                                          rogation clause, under which it was grant-
                                                          ed right to recover health care payments
                                                          from prospective tortfeasors. Fed.Rules
              Delphine MARICCO and Robert                 Civ.Proc.Rule 24(a), 28 U.S.C.A.
                    Maricco, Plaintiffs,                  2. Federal Civil Procedure O340
                              and                              If insured brings suit against tortfea-
                                                          sor, insurer who is partially subrogated
           Blue Cross Blue Shield of Michigan,            may intervene in action to protect its pro
             Proposed Intervening Plaintiff,              rata share of potential recovery.
                               v.                         3. Federal Courts O295
            MECO CORPORATION, Defendant.                        Insurer’s intervention in products lia-
                                                          bility action brought by consumer against
                         No. 03–71719.
                                                          corporation would not destroy existing di-
                United States District Court,             versity of citizenship in action, to extent
                      E.D. Michigan,                      that insurer sought judgment against cor-
                     Southern Division.                   poration as subrogee of consumer, where
                                                          insurer and consumer were Michigan resi-
                         May 3, 2004.                     dents, while corporation identified Tennes-
          Background: Consumer brought products           see as state of incorporation and principal
          liability action against corporation. Insurer   place of business. 28 U.S.C.A. § 1367(b).
          moved to intervene as plaintiff, seeking
                                                          4. Federal Courts O24
          reimbursement for health care benefits
          paid to consumer.                                    Federal court may adjudicate cross-
                                                          claim because of its relationship to main
          Holdings: The District Court, Rosen, J.,        action for which federal jurisdiction is
          held that:                                      proper, even though independent basis for
          (1) insurer established sufficient interest     jurisdiction is lacking.     28 U.S.C.A.
              in action to warrant intervention;          § 1367(b).
          (2) court had jurisdiction over insurer’s       5. Federal Courts O295
              subrogation claim against corporation;            Insurer’s intervention in products lia-
          (3) court lacked jurisdiction over insurer’s    bility action brought by consumer against
              cross-claim against consumer; and           corporation would destroy existing diversi-
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          ty of citizenship in action, to extent that            reimbursement of these proceeds from any
          insurer sought cross-claim judgment                    damage award Plaintiffs might recover
          against consumer as reimbursement for                  from Defendant Meco Corporation in this
          monies paid under health care plan, since              case. Plaintiffs have not responded to this
          parties on both sides were Michigan resi-              motion, but Defendant has filed a brief
          dents. 28 U.S.C.A. § 1367(b).                          opposing this relief. Having reviewed
                                                                 these submissions and the record as a
          6. Federal Civil Procedure O1956
                                                                 whole, the Court finds that BCBSM is
                District court would properly deny re-
                                                                 entitled to intervene in this action, albeit
          quest of insurer intervening in products
                                                                 not on all of the grounds identified in its
          liability action brought by consumer
                                                                 motion and proposed intervening com-
          against corporation to have its claims adju-
                                                                 plaint.
          dicated in separate proceeding, where such
          separation would defeat court’s interest in              [1] BCBSM’s motion rests principally
          ensuring that insurer’s distinct interests             upon Rule 24(a), which provides:
          were protected and adequately represent-
          ed. Fed.Rules Civ.Proc.Rule 42(b), 28                        Upon timely application anyone shall
          U.S.C.A.                                                  be permitted to intervene in an action:
                                                                    (1) when a statute of the United States
                                                                    confers an unconditional right to inter-
                                                                    vene; or (2) when the applicant claims
                                                                    an interest relating to the property or
            Michael D. Weaver, Esq., Bloomfield
                                                                    transaction which is the subject of the
          Hills, MI, for Meco Corp.
                                                                    action and the applicant is so situated
            Mark D. Willmarth, Esq., Detroit, MI,                   that the disposition of the action may as
          for Target Corp.                                          a practical matter impair or impede the
                                                                    applicant’s ability to protect that inter-
           OPINION AND ORDER GRANTING                               est, unless the applicant’s interest is ad-
            IN PART MOTION FOR INTER-                               equately represented by existing parties.
               VENTION AND JOINDER
                                                                 Fed.R.Civ.P. 24(a). BCBSM does not
               ROSEN, District Judge.                            claim a right to intervene under a federal
            By motion filed on September 22, 2003,               statute,1 but instead appeals to the second
          proposed intervening party Blue Cross                  prong of the Rule 24(a) inquiry. Specifi-
          Blue Shield of Michigan (‘‘BCBSM’’) seeks              cally, BCBSM states that it has paid
          leave to intervene in this product liability           health care benefits to Plaintiff Delphine
          suit pursuant to Fed.R.Civ.P. 24(a) or, al-            Maricco as a result of the injuries claimed
          ternatively, requests to be joined as a nec-           in Plaintiffs’ complaint. BCBSM further
          essary party under Fed.R.Civ.P. 19(a). As              asserts that its health care contract with
          support for this motion, BCBSM states                  Plaintiffs includes a subrogation clause,
          that it paid health care benefits to Plaintiff         under which it is granted a right to recov-
          Delphine Maricco, and it claims a right to             er its health care payments from Defen-

          1.     BCBSM does cite a Michigan statute, Mich.          Public Service Co. of New Hampshire v. Patch,
               Comp. Laws § 550.1401(6), as purportedly             136 F.3d 197, 208(1st Cir.1998); Krueger v.
               conferring a right to intervene in this case.        Cartwright, 996 F.2d 928, 931 (7th Cir.1993).
               As Defendant points out, however, interven-          At most, the Michigan statute merely ‘‘in-
               tion is a matter of federal procedural law,          form[s] the TTT calculus’’ under the second
               which a state statute cannot displace. See           prong of Rule 24(a). Patch, 136 F.3d at 208.
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          dant.  This right of subrogation, in                  basis for any concern that Plaintiffs might
          BCBSM’s view, creates a sufficient inter-             instead dispose of these proceeds before
          est to warrant intervention under Rule                BCBSM has an opportunity to seek reim-
          24(a).                                                bursement. Defendant further contends
             [2] The courts have consistently recog-            that any such concern, should it arise,
          nized that an insurer who has a right of              could be easily obviated through the
          subrogation and pays a portion of the in-             prompt filing of a separate subrogation
          sured’s loss—otherwise referred to as                 claim following the entry of judgment in
          ‘‘partial subrogation’’—possesses a sepa-             this action.
          rate and distinct substantive right of re-
                                                                    Next, in a related argument, Defendant
          covery against the defendant tortfeasor
                                                                contends that intervention is unnecessary
          who allegedly caused the loss. See, e.g.,
                                                                here because BCBSM’s claimed interest
          United States v. Aetna Casualty & Surety
                                                                ‘‘is adequately represented by existing par-
          Co., 338 U.S. 366, 381, 70 S.Ct. 207, 215, 94
                                                                ties,’’ Fed.R.Civ.P. 24(a), the current Plain-
          L.Ed. 171 (1949); Krueger, 996 F.2d at
                                                                tiffs. In support of this asserted identity
          932; Agri–Mark, Inc. v. Niro, Inc., 190
                                                                of interests, Defendant notes that Plain-
          F.R.D. 293, 296 (D.Mass.2000). ‘‘Thus, if
                                                                tiffs have specifically identified the medical
          an insured brings suit against a tortfeasor,
                                                                expenses paid by BCBSM as an element of
          the insurer who is partially subrogated
                                                                the damages they seek to recover in this
          may intervene in the action to protect its
                                                                case. Further, Defendant points out that
          pro rata share of the potential recovery.’’
                                                                Plaintiffs apparently have never denied the
          Krueger, 996 F.2d at 932 (citing 6A
                                                                existence of BCBSM’s claimed interest in
          Charles A. Wright et al., Federal Practice
                                                                a portion of their eventual recovery. Ac-
          & Procedure § 1546 (2d ed.1990)). Under
                                                                cordingly, Defendant reasons that Plain-
          this principle, and accepting as true the
                                                                tiffs and BCBSM share similar interests in
          allegations of its proposed intervening
                                                                obtaining an award that encompasses the
          complaint,2 BCBSM would be entitled to
                                                                medical benefits paid by BCBSM to Plain-
          intervene as a party-plaintiff along with its
                                                                tiffs.
          insured, Delphine Maricco.
            Defendant, however, suggests three rea-                Both of Defendant’s first two conten-
          sons why BCBSM should not be permitted                tions fail on similar grounds. Defendant
          to intervene under Rule 24(a). First, De-             has failed to identify any support for the
          fendant argues that BCBSM has offered                 proposition that a party with a claimed—
          only idle speculation, and not evidence,              and, at this point, undisputed—interest in
          that ‘‘the disposition of the action may as a         a potential tort recovery may not intervene
          practical matter impair or impede [its]               so long as there is any prospect that an
          ability to protect [its] interest,’’ Fed.             existing party might vindicate this inter-
          R.Civ.P. 24(a), in a portion of any tort              est. Assuming that Plaintiffs do not dis-
          recovery obtained by Plaintiffs. Defen-               pute BCBSM’s right to reimbursement of
          dant maintains, for example, that Plaintiffs          the medical expenses it has paid them,
          might very well elect to voluntarily reim-            Plaintiffs have no particular incentive to
          burse BCBSM out of any judgment they                  seek these expenses as an element of dam-
          obtain, and that BCBSM has no specific                ages. While they might do so nonetheless,

          2.     In particular, the Court is not called upon      gation under the terms of its health care con-
               here to decide whether BCBSM actually pos-         tract with Plaintiffs.
               sesses a valid and enforceable right of subro-
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          this Court cannot foretell the likelihood              partial subrogation interest warrants its
          that Plaintiffs might instead, perhaps for             intervention under Rule 24(a).
          strategic reasons, seek to downplay or ig-                Apart from these challenges under Rule
          nore this element of their claimed losses.             24(a), Defendant also suggests that the
          Moreover, if Plaintiffs, for whatever rea-             joinder of BCBSM as a party triggers a
          son, fail to present evidence encompassing             potential jurisdictional concern. As noted
          all of the medical expenses paid by their              by Defendant, because this case lies within
          insurer, BCBSM likely would confront con-
                                                                 the Court’s diversity jurisdiction, the
          siderable obstacles in seeking to recover
                                                                 Court may not exercise supplemental ju-
          this shortfall in a subsequent proceeding.3
                                                                 risdiction over claims brought by BCBSM
          BCBSM need not run these risks, but
                                                                 as an intervening plaintiff if this joinder
          rather is entitled to participate in this
                                                                 would destroy the existing diversity of citi-
          action to ensure that its unique interest as
                                                                 zenship among the current parties. See 28
          subrogee is properly protected. Under
                                                                 U.S.C. § 1367(b). BCBSM has not aided
          the allegations of the proposed intervening
                                                                 the Court in this inquiry, as its proposed
          complaint, BCBSM’s interests are not so
                                                                 intervening complaint does not even list
          closely aligned with Plaintiffs’ that it can
                                                                 the insurer in the caption, much less indi-
          be said that the insurer’s intervention is
                                                                 cate whether it should be aligned as a
          unnecessary to protect these interests.
                                                                 plaintiff or defendant. In addition, this
             Third, Defendant argues that BCBSM                  proposed complaint lacks any jurisdictional
          has failed to satisfy Rule 24(a)’s require-            allegations whatsoever, whether regarding
          ment of a ‘‘timely application’’ to intervene,         citizenship of the parties or the possible
          where the insurer purportedly learned of               existence of a federal question.
          this suit within a few weeks after it was
          filed, but did not file the present motion                [3] Nonetheless, upon performing the
          until about four months later, or about two            inquiry that BCBSM should have (but did
          months before the close of discovery.                  not), the Court finds that this insurer’s
          While the Court agrees that BCBSM could                intervention will not destroy the existing
          have acted more promptly, it discerns no               diversity of citizenship, at least as to one of
          prejudice to the existing parties as a result          the claims advanced in the proposed inter-
          of this delay. First, if Defendant had                 vening complaint. In Count II of this
          agreed to BCBSM’s request to intervene,                proposed pleading, BCBSM seeks a judg-
          it is likely that BCBSM immediately would              ment against Defendant as a subrogee of
          have been joined as a party by stipulated              the Plaintiff subscribers to a BCBSM
          order, with ample opportunity for the in-              health care plan. Under this theory of
          surer to participate in the remaining peri-            recovery, BCBSM is properly character-
          od of discovery. In any event, BCBSM                   ized as an intervening plaintiff, seeking its
          does not claim in its motion that it wishes            purported share of the judgment sought
          to pursue additional discovery, and the                against Defendant in this product liability
          Court certainly will take the insurer’s lack           action. In addition, this proposed joinder
          of diligence into account should further               seemingly does not threaten the Court’s
          discovery be sought at this juncture. Ac-              diversity jurisdiction, as BCBSM and
          cordingly, the Court finds that BCBSM’s                Plaintiffs alike are Michigan residents,4

          3.    One of these obstacles is discussed below.          of the State of Michigan. In filing its inter-
                                                                    vening complaint in accordance with the rul-
          4.    More accurately, the Court assumes that             ings in this Opinion and Order, BCBSM must
               BCBSM is properly characterized as a citizen
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          while Defendant has identified Tennessee                   In addition, the law of this Circuit sug-
          as both its state of incorporation and the              gests that BCBSM cannot state a viable
          location of its principal place of business.            claim for reimbursement.           Although
                                                                  BCBSM’s submissions are notably silent
             [4, 5] Matters are far different, howev-             on the subject, it appears that Plaintiff
          er, as to the claim advanced in Count I of              Delphine Maricco received medical bene-
          the proposed intervening complaint.                     fits from BCBSM under a health care plan
          Here, BCBSM seeks a judgment against                    provided by her husband’s employer,
          Plaintiffs as reimbursement for all                     Michigan Credit Union. (See Defendant’s
          amounts paid to them under their health                 Response, Ex. A, Plaintiff’s Answers to
          care plan. This is properly characterized               Interrogatories at 8.) Presumably, this
          as a cross-claim brought by intervening                 plan is governed by the Employee Retire-
          plaintiff BCBSM against the current Plain-              ment Income Security Act of 1974
          tiffs. Diversity of citizenship would be                (‘‘ERISA’’), 29 U.S.C. § 1001 et seq. If so,
          lacking as to this cross-claim, with the                the Supreme Court’s recent decision in
          parties on both sides being Michigan resi-              Great–West Life & Annuity Ins. Co. v.
          dents. Ordinarily, ‘‘even though an inde-               Knudson, 534 U.S. 204, 122 S.Ct. 708, 151
          pendent basis for jurisdiction is lacking,              L.Ed.2d 635 (2002), under facts somewhat
          the federal court may adjudicate a cross-               analogous to those presented here, holds
          claim because of its relationship to the                that ERISA does not authorize an insur-
          main action for which federal jurisdiction              er’s action to enforce a reimbursement
          is proper.’’ Coleman v. Casey County                    provision of an ERISA plan. Thus, to the
          Board of Education, 686 F.2d 428, 430 (6th              extent that Count I of BCBSM’s proposed
          Cir.1982). Yet, because BCBSM has in-                   intervening complaint asserts an ERISA
          tervened in this action as a plaintiff under            claim for reimbursement, this avenue of
          Rule 24, its cross-claim against the original           recovery seemingly is foreclosed by Knud-
          Plaintiffs seemingly runs afoul of the ex-              son.
          clusionary language of § 1367(b), which                   In so ruling, however, the Supreme
          mandates that claims asserted by an inter-              Court declined to consider whether the
          vening plaintiff in a diversity suit must               insurer in that case might have been able
          independently satisfy the requirements for              to secure its desired relief through some
          federal court jurisdiction. See TIG Insur-              other means. The Court stated, in partic-
          ance Co. v. Reliable Research Co., 334                  ular, that ‘‘[w]e express no opinion as to
          F.3d 630, 633–34 (7th Cir.2003). BCBSM                  whether [the insurer] could have inter-
          has failed to identify such a jurisdictional            vened in the state-court tort action
          basis for its proposed claim against Plain-             brought by [its insured] or whether a di-
          tiffs.5                                                 rect action by [the insurer] against [its

               confirm this characterization by including the      the underlying action, but will arise, if at all,
               appropriate jurisdictional allegations.             only after Plaintiffs secure a judgment in their
                                                                   favor. Thus, it is not essential that BCBSM
          5.     Further, it is far from clear, in this Court’s
                                                                   intervene in this action in order to preserve
               view, that this claim could satisfy the stan-
                                                                   this claimed right, because BCBSM’s interest
               dards for intervention as of right under Rule
                                                                   in this regard may be adequately protected
               24(a). BCBSM’s claim against Plaintiffs rests
                                                                   through the commencement of a separate ac-
               upon a right to reimbursement from any judg-
               ment Plaintiffs might obtain in their underly-      tion—assuming, of course, that Plaintiffs fail
               ing suit against Defendant. This claimed            to voluntarily reimburse BCBSM from any
               right will not be adjudicated in the course of      award in their favor.
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          insureds] asserting state-law claims such              ERISA because it required ‘‘resort to the
          as breach of contract would have been pre-             terms of the ERISA plan’’ in order to
          empted by ERISA.’’ Knudson, 534 U.S.                   adjudicate the respective rights of the two
          at 220, 122 S.Ct. at 718. In this case, of             insurers. Morgan, 54 Fed.Appx. at 831–
          course, the Court has now permitted the                32, 2002 WL 31870325, at *3. From this
          first of these two courses of action, allow-           conclusion, it readily followed that this
          ing BCBSM to intervene in order to pro-                claim was foreclosed by the holding in
          tect its partial subrogation interest in any           Knudson, because the plaintiff insurer,
          recovery obtained from Defendant.6                     like the insurer in Knudson, sought ‘‘a
                                                                 declaration that its contractual rights un-
             As to the second possible avenue of re-
                                                                 der the plan entitle it to the payment of
          covery, a state-law breach of contract
                                                                 money,’’ a type of relief that is not avail-
          claim, a subsequent Sixth Circuit ruling
                                                                 able to a plan fiduciary under § 502(a)(3)
          has cast considerable doubt on the viability
                                                                 of ERISA. Morgan, 54 Fed.Appx. at 831–
          of this option. In Community Ins. Co. v.
                                                                 33, 2002 WL 31870325, at *3–*4.
          Morgan, 54 Fed.Appx. 828, 2002 WL
          31870325 (6th Cir.2002), the plaintiff insur-             The decision in Morgan indicates, and
          er under an ERISA health care plan                     general principles of ERISA preemption
          sought reimbursement from its insured,                 tend to confirm, that BCBSM could not
          Troy Morgan, and Morgan’s automobile                   seek reimbursement from Plaintiffs under
                                                                 a state-law breach of contract theory.
          insurer, Liberty Mutual, for benefits paid
                                                                 This being the case, the sole remaining
          to cover Morgan’s medical expenses for
                                                                 avenue of recovery available to BCBSM
          injuries he incurred in an automobile acci-
                                                                 seemingly is to intervene in Plaintiffs’ un-
          dent. The plaintiff characterized its claim
                                                                 derlying tort suit against Defendant on the
          against Morgan as brought under ERISA,
                                                                 basis of the insurer’s alleged partial subro-
          and the Sixth Circuit readily concluded
                                                                 gation interest. This is all the more rea-
          that this claim ‘‘for reimbursement under
                                                                 son, in the Court’s view, to grant
          the terms of the plan is squarely precluded
                                                                 BCBSM’s motion to intervene over the
          by Knudson.’’ Morgan, 54 Fed.Appx. at
                                                                 objection of Defendant, because the dispo-
          830, 2002 WL 31870325, at *2; see also
                                                                 sition of the underlying tort action might
          Community Health Plan of Ohio v. Mos-
                                                                 well ‘‘as a practical matter impair or im-
          ser, 347 F.3d 619, 623 (6th Cir.2003) (citing
                                                                 pede,’’ Fed.R.Civ.P. 24(a), BCBSM’s abili-
          Knudson for the proposition that ‘‘ERISA
                                                                 ty to recoup any medical expenses that
          does not provide jurisdiction for fiduciaries
                                                                 Plaintiffs might recover as part of a dam-
          seeking to enforce a contract’s reimburse-             age award in this case. BCBSM’s usual
          ment provisions through money dam-                     past practice of asserting a lien upon its
          ages’’).                                               insured’s tort recovery might no longer be
             The Court then turned to the plaintiff’s            effective, as any action to collect upon this
          claim against Liberty Mutual, which was                lien might run afoul of Knudson. In ap-
          pled as arising under state law. The Sixth             parent recognition of this potential pitfall,
          Circuit rejected this characterization, find-          BCBSM has sought to intervene in this
          ing that this claim was preempted by                   action. Under these circumstances, the

          6.     In so ruling, however, this Court has not          claim for partial subrogation, the Court ex-
               resolved the substantive portion of the issue        presses no view as to whether or how the
               left open in Knudson. In particular, while the       reasoning or result in Knudson might affect
               Court finds that BCBSM has satisfied the             the substantive law governing this claim.
               procedural dictates of Rule 24(a) as to its
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          Court finds that the standards for inter-              at the trial of the case in chief, BCBSM
          vention under Rule 24(a) have been satis-              would be prohibited from going forward on
          fied, but only as to the subrogation theory            its claim for damages based on principles
          advanced in Count II of the proposed in-               of res judicata.’’ (BCBSM’s Motion, Br. in
          tervening complaint.                                   Support at 6.) The same would hold true if,
             [6] Finally, BCBSM requests in its                  whether for lack of proof or otherwise, the
          motion that it not be required to partici-             jury returned a verdict that lacked a com-
          pate in the trial on Plaintiffs’ underlying            ponent of medical expenses. Because of
          product liability claims, and that its claims          this dispositive impact upon its claimed
          instead be adjudicated in a separate pro-              subrogation interest, BCBSM must accept
          ceeding under Fed.R.Civ.P. 42(b). As                   the consequences of its requested interven-
          should be apparent from the foregoing dis-             tion, and must appear along with the other
          cussion, this request runs counter to the              parties at all pretrial proceedings and at
          Court’s principal basis for ordering inter-            trial.7
          vention—namely, to ensure that BCBSM’s
                                                                   For these reasons,
          distinct interests are protected and ade-
          quately represented. It is wholly incon-                  NOW, THEREFORE, IT IS HEREBY
          gruous, in the Court’s view, to conclude               ORDERED that Blue Cross Blue Shield of
          that BCBSM’s interests may not be ade-                 Michigan’s September 22, 2003 Motion for
          quately represented by the existing Plain-             Intervention and Joinder is GRANTED
          tiffs, and yet find, as BCBSM now invites              IN PART, in accordance with the rulings
          the Court to do, that the insurer should be            in this Opinion and Order. IT IS FUR-
          exempt from participating at trial because             THER ORDERED that, within seven (7)
          it is content to rest upon Plaintiffs’ proofs          days of the date of this Opinion and Order,
          in support of its own claims against Defen-            Blue Cross Blue Shield of Michigan shall
          dant.                                                  file and serve an intervening complaint
             To be sure, BCBSM might well elect, on              that comports with the Court’s rulings.
          strategic or other grounds, to remain
          largely in the background at trial, and to
          rely on Plaintiffs’ proofs of their damages
          rather than introducing separate evidence
          of its own. Nonetheless, it is essential
          that BCBSM be present and ready to par-
                                                                              ,
          ticipate at trial, in order to determine
          whether its distinct interests as subrogee
          are properly served. As BCBSM recog-
          nizes, it will be bound by the outcome of
          the underlying product liability suit—‘‘[f]or
          example, in the event of a no-cause verdict

          7.     There is one exception to this ruling. In the    trial in support of its claimed right of subro-
               event that Plaintiffs seek to challenge            gation, the Court agrees that this matter is
               BCBSM’s right of subrogation under the par-        more appropriately addressed in a separate
               ties’ health care contract, this purely legal      proceeding. BCBSM’s participation at trial
               issue of contract interpretation can be re-        will be limited to matters concerning the
               solved in a separate proceeding before the         damages suffered by Plaintiffs under their
               Court. To the extent that BCBSM is request-        product liability claims against Defendant.
               ing that it not be required to offer proofs at
